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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 22-178 (SRN/DTS)
______________________________________

United States of America,

       Plaintiff,                                    DEFENDANT DEVEON MARQUISE
                                                     BRANCH’S APPEAL TO U.S.
v.                                                   DISTRICT COURT JUDGE OF
                                                     MAGISTRATE JUDGE’S ORDER FOR
Deveon Marquise Branch,                              DETENTION WITHOUT BAIL

       Defendant.

______________________________________

       Defendant, Deveon Marquise Branch, by and through his attorney, Glenn P. Bruder,

Mitchell, Bruder and Johnson files this appeal to the U.S. District Court Judge for review of

Magistrate Judge Thorson’s Order of August 22, 2022 detaining Defendant without bail. The

Defendant requests that he be released with bail or with such other conditions as are appropriate.

       I.       BASIS FOR REVIEW.

       18 U.S.C. §3145(b) permits a defendant to seek review of a magistrate judge’s detention

order. The statute provides:

       If a person is ordered detained by a magistrate judge…the person may file, with the court
       having original jurisdiction over the offense, a motion for revocation or amendment of
       the order. The motion shall be determined promptly.

When a magistrate judge’s detention order is challenged, it must be independently assessed on a

de novo basis. United States v. Sazenski, 806 F2d 846, 847 (8th Cir. 1986).

       II.      RELEVANT PERSONAL INFORMATION CONCERNING THE
                DEFENDANT.

       At the time of the detention hearing, the Magistrate Judge was aware the Defendant was

age 28, had lived in Minnesota for 21 years, had a sister residing in Burnsville and a mother


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living in Chaska, Minnesota. The Magistrate Judge was also aware the Defendant resided in

Minneapolis, Minnesota with his partner, C.C., for the past five years. The Magistrate Judge also

knew they were the parents of three children, also residing in the home.

       The Magistrate Judge was also aware that Branch had been convicted of several

misdemeanor offenses between age 20-22 and, at age 23, was involved in a felony offense which

stemmed from a violent altercation with a former girlfriend. As a result of this incident, Branch

was sentenced to 36 months in prison and released in 2020. He successfully completed probation

and his sentence was terminated in March 2022. The Magistrate Judge was also aware, as a result

of a May 2022 search, the Defendant was charged with a firearms offense in Hennepin County

District Court. This was the same conduct charged in the federal indictment. In that prosecution,

the Defendant was released from custody on May 27, 2022 and had complied with all of the

conditions of his release until he was arrested in connection with this indictment.

       In addition, by way of proffer, the Defendant presented information to the Magistrate

Judge that:

   •   Defendant’s attorney had spoken to Branch’s partner, C.C., and she welcomed him to
       return to the parties’ home.

   •   C.C. worked at two jobs: as a Hennepin County economic assistance officer and as a
       nurse’s aid at Methodist Hospital. The Methodist Hospital position involved exclusively
       overnight shifts and the Defendant’s partner relied on Branch to care for the children
       while she worked at Methodist Hospital.

   •   That Branch was employed on a full-time basis as an assistant manager at a Wendy’s
       restaurant located near the Ridgedale shopping mall.

   •   In addition to this employment, Defendant was also engaged in a dog breeding endeavor,
       that one of Branch’s dogs was pregnant and scheduled to delivery a litter of puppies on
       September 21.

   •   Branch’s partner had recently undergone a surgical procedure for which a two-week
       recovery was anticipated. C.C. was in need of the Defendant’s assistance to care for the
       parties’ children during this timeframe.

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        III.    CURRENT CONDITIONS OF DEFENDANT’S CONFINEMENT.

        As a result of the Magistrate Judge’s order, the Defendant is confined at the Sherburne

County Jail. Since the commencement of the Covid pandemic, the jail has barred in-person visits

from attorneys and family members but visits using video conference technology may be

possible.

        IV.     THE MAGISTRATE JUDGE’S DECISION TO ORDER DEFENDANTS’
                PRETRIAL DETENTION WAS INAPPROPRIATE AND SHOULD BE
                MODIFIED.

        In determining whether detention is warranted, 18 U.C.S. §3142(g) sets forth several

criteria to be evaluated. The statute directs:

        The judicial officer shall, in determining whether there are conditions of release that will
        reasonably assure the appearance of the person as required and the safety of any other
        person and the community, take into account the available information concerning—

        (1)     The nature and circumstances of the offense charged, including whether the
                offense is a crime of violence…a federal crime of terrorism…

        (2)     The weight of the evidence against the person;

        (3)     The history and characteristics of the person including—

                (A)     The person’s character, physical and mental condition, family ties,
                        employment, financial resources, length of residence in the community,
                        community ties, past conduct…

                (B)     Whether at the time of the current offense or arrest that the person was on
                        probation or parole or on other release pending trial, sentencing, appeal or
                        completion of sentence…

        (4)     The nature and seriousness of the danger to any person or the community that
                would be posed by the person’s release.

        Candidly, these factors weighed both in favor and against detention. There is no question

the offense charged was a serious one, but there is also no claim that the Defendant made any

effort to use the firearm found during a search of his residence. The initial investigation of



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Branch was premised on claims by a confidential informant (CI) asserting the Defendant was

engaged in drug dealing. Those reports seem to have been at best, misguided, or at worst, utterly

false. A search of the home and Defendant’s vehicle revealed no controlled substances at all. No

fentanyl, no heroin (the narcotics purportedly being marketed by Branch), no pills, no marijuana,

no recreational drugs of any type. The police found no evidence of narcotics sales activity, no

scales, no large quantities of packaging material, no narcotics paraphernalia.

        Similarly, while the Defendant cannot deny his prior incarceration, it appears this had a

significant rehabilitative effect on him. Branch obtained full-time employment when released

from custody and started an entrepreneurial venture. Both he and his partner appear to be hard

working individuals committed to raising their family together. The Defendant’s ongoing

confinement effects not only him, but his partner C.C., who now faces devastating economic

consequences from the loss of Branch’s income and the likely need to terminate her employment

at Methodist Hospital as C.C. can no longer safely work an overnight shift without Branch to

care for the parties’ children.

        Critically, the Defendant had been free without incident during the approximately two-

month period between his arrest, the subsequent filing of state charges in Hennepin County, and

his eventual indictment in U.S. District Court. During this period of time, the Defendant

complied with his conditions of release in Hennepin County, had no additional contact with law

enforcement authorities and appeared for all of his court appearances. Under these

circumstances, the Magistrate Judge had demonstrable evidence that conditions could be

established to assure both the Defendant’s appearance in Court and the safety of the community.

        Not only can release conditions be drafted to assure the safety of the community, but it

appears plain the Defendant presents a low likelihood of flight. His mother, sister, life partner



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and children are all residents of the Minneapolis/St. Paul area. The Defendant’s ties to the

community are long lasting and deep. Under the circumstances, even considering the

Defendant’s checkered history, the bulk of the factors presented to the Magistrate Judge weighed

in favor of a pretrial release.

                                         CONCLUSION

        For the above stated reasons, Defendant respectfully requests the court overrule his

detention and order his release under such conditions as it deems appropriate.

Dated: August 31, 2022

Respectfully submitted,

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